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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7    UNITED STATES OF AMERICA,
                                                    NO. 2:18-CR-0034-TOR
 8                              Plaintiff,
                                                    ORDER DENYING DEFENDANT’S
 9           v.                                     MOTION TO REDUCE SENTENCE

10    MICHAEL D. MILLER,

11                              Defendant.

12         BEFORE THE COURT is Defendant’s Motion to Reduce Sentence under 18

13   U.S.C. § 3582(c)(1)(A). ECF No. 42. The Government filed its response in

14   opposition. ECF No. 44. Defendant filed his reply. ECF No. 45. This matter was

15   submitted for consideration without oral argument. The Court has reviewed the

16   record and files herein, the completed briefing, and is fully informed. For the

17   reasons discussed below, Defendant’s motion is denied.

18                                    BACKGROUND

19         On July 3, 2018, Michael D. Miller appeared before the Court and entered a

20   plea of guilty to Count 1 of the Indictment filed on February 21, 2018, charging



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 1   him with Distribution of 50 Grams or More of Actual (Pure) Methamphetamine, in

 2   violation of 21 U.S.C. § 841. ECF Nos. 27, 28.

 3         On October 23, 2018, this Court sentenced Defendant to a 120-month term

 4   of imprisonment, followed by a 5-year term of supervised release, and a $100.00

 5   special penalty assessment. ECF No. 38. Defendant had been detained since his

 6   arrest on March 8, 2018 and was remanded to the custody of the United States

 7   Marshal to begin service of his sentence. According to the Bureau of Prisons,

 8   Defendant is currently scheduled for release on September 14, 2026.

 9         In December 2020, Defendant submitted a request for sentence reduction to

10   the warden of the facility where he was incarcerated. ECF No. 44-1. On May 21,

11   2021, Defendant submitted a second request for compassionate release to the

12   warden of the facility where he was incarcerated, USP Lompoc. ECF No. 42-2.

13   According to the Government, both requests were denied. ECF No. 44 at 3.

14         On July 7, 2021, Defendant filed the instant Motion for Compassionate

15   Release. ECF No. 42. Defendant requests the Court to reduce his sentence to time

16   served or reduce his sentence to a 69-month sentence. Id. at 3. He explains that

17   extraordinary and compelling reasons support such reduction, including: that he

18   suffers from poor and worsening health; his criminal history category would now

19   be lower; and he would now be eligible for the safety-valve. Id. at 7-17.

20   Defendant claims the 18 U.S.C. § 3553(a) sentencing factors do not prohibit a




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 1   reduction, he poses little risk of recidivism, and he has plans for post-release

 2   stability. Id. at 17-21.

 3         The Government opposes Defendant’s release, explaining that there are no

 4   extraordinary and compelling reasons for immediate release, Defendant has

 5   previously tested positive for COVID-19 and has recovered, he has received both

 6   doses of Pfizer COVID-19 vaccination, he does not have any medical condition

 7   that is not being monitored and controlled, and the 18 U.S.C. § 3553(a) factors do

 8   not support release. ECF No. 44. Additionally, the Government contends that

 9   post-sentencing changes in the law do not allow a § 3582(c)(1)(A) sentence

10   reduction. Id.

11                                      DISCUSSION

12      A. Eligibility for Compassionate Release

13         Federal courts have the statutory authority to modify an imposed term of

14   imprisonment for two reasons: compassionate release under 18 U.S.C. § 3582(c)(1)

15   or based on a change in the sentencing guidelines under 18 U.S.C. § 3582(c)(2).

16   Until recently, motions for compassionate release could only be brought to the

17   Court by the Director of the Bureau of Prisons. 18 U.S.C. § 3582(c)(1)(A) (2002).

18   However, after the December 2018 passage of the First Step Act, defendants may

19   now bring their own motions for compassionate release after exhausting

20   administrative remedies within the Bureau of Prisons or by waiting 30 days after




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 1   receipt of their request by the warden of defendant’s facility, whichever is earlier.

 2   18 U.S.C. § 3582(c)(1)(A) (2018).

 3         A defendant may be eligible for compassionate release: (1) if the Court finds

 4   “extraordinary or compelling reasons” to warrant a sentence reduction; or (2) if the

 5   defendant is at least 70 years old, has served at least 30 years in prison pursuant to

 6   a sentence imposed for the offense for which the defendant is currently imprisoned,

 7   and the defendant is determined not to pose a risk of danger to the community. 18

 8   U.S.C. § 3582(c)(1)(A). Under either eligibility prong, the Court must also find

 9   that a sentence reduction is “consistent with applicable policy statements issued by

10   the [United States] Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). The

11   statute and the Sentencing Guidelines instruct that the Court should consider the

12   sentencing factors set forth in 18 U.S.C. § 3553(a) when deciding a motion for

13   compassionate release. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The Court

14   should not grant a sentence reduction if the defendant poses a risk of danger to the

15   community, as defined in the Bail Reform Act. 18 U.S.C. § 3582(c)(1)(A) (as to

16   second prong only); U.S.S.G. § 1B1.13 (as to both the first and second prongs).

17         The Sentencing Commission’s policy statement on sentence reduction

18   mirrors the language of the compassionate release statute, but it has not yet been

19   updated to reflect the procedural changes implemented by the First Step Act.

20   U.S.S.G. § 1B1.13. “While that particular policy statement has not yet been




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 1   updated to reflect that defendants (and not just the [Bureau of Prisons (“BOP”)])

 2   may move for compassionate release, courts have universally turned to U.S.S.G.

 3   § 1B1.13 to provide guidance on the ‘extraordinary and compelling reasons’ that

 4   may warrant a sentence reduction.” United States v. McGraw, No. 2:02-cr-00018-

 5   LJM-CMM, 2019 WL 2059488, at *2 (S.D. Ind. May 9, 2019) (gathering cases)

 6   (emphasis added). The sentence reduction policy statement outlines four

 7   categories of circumstances that may constitute “extraordinary and compelling

 8   reasons” for a sentence reduction: (1) the defendant suffers from a medical

 9   condition that is terminal or substantially diminishes the defendant’s ability to

10   provide self-care in a correctional environment; (2) the defendant is at least 65

11   years old, is experiencing a serious deterioration in health due to the aging process,

12   and has served at least 10 years or 75% of his or her term of imprisonment; (3)

13   family circumstances involving the death or incapacitation of the caregiver of the

14   defendant’s minor child or the incapacitation of the defendant’s spouse or

15   registered partner; or (4) other reasons, other than or in combination with the other

16   listed circumstances, that are extraordinary and compelling. U.S.S.G. § 1B1.13,

17   cmt. n.1.

18         Most recently, the Ninth Circuit has held “that the current version of

19   U.S.S.G. §1B1.13 is not an ‘applicable policy statement[ ]’ for 18 U.S.C.

20   § 3582(c)(1)(A) motions filed by a defendant.” United States v. Aruda, 993 F.3d




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 1   797 (9th Cir. 2021). According to the Ninth Circuit, “[t]he Sentencing

 2   Commission’s statements in U.S.S.G. § 1B1.13 may inform a district court’s

 3   discretion for § 3582(c)(1)(A) motions filed by a defendant, but they are not

 4   binding.” Id. Thus, “district courts are empowered . . . to consider any

 5   extraordinary and compelling reason for release that a defendant might raise.” Id.

 6   (agreeing with and quoting decisions of Second and Fourth Circuits).

 7      B. Exhaustion or Lapse of 30 days

 8         Defendant has exhausted his administrative remedies. He submitted

 9   requests for compassionate release to the Warden more than 30-days prior to filing

10   his motion. The Government concedes that Defendant has exhausted his

11   administrative remedies. ECF No. 44 at 3 (denials), at 7 (expiration of 30 days).

12      C. Extraordinary and Compelling Reasons

13         Defendant, now age 65, argues that extraordinary and compelling reasons

14   justify a reduction in sentence. First, Defendant contends that he suffers from

15   cardiovascular disease and “showed evidence of a prior ‘silent’ heart attack.” ECF

16   No. 42 at 7. The record citation from December 2020 only shows: “CARDIAC:

17   silent previous MI suspected, as EKG since in BOP custody show inferior infarct,

18   LAD.” ECF No. 42-3 at 1 (emphasis added).

19         Second, Defendant complains that he suffers from hypertension and that his

20   blood pressure is poorly controlled. ECF No. 42 at 7-8.




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 1          Third, Defendant complains that he suffers from degenerative disc disease.

 2   Id. at 8. Defendant contends that his other conditions will worsen because he was

 3   told to limit his physical activity.

 4          Fourth, Defendant explains that he is obese and this adds to his risk of heart

 5   attack, stroke and increased mortality. Id. at 9.

 6          Fifth, Defendant explains that he contracted COVID-19 and suffers from

 7   shortness of breath. He explains that this worsens his cardiovascular prognosis.

 8   Id. at 9-10.

 9          Defendant contends that all his conditions compound each other and

10   constitute valid grounds for a sentence reduction. Id. at 10. Defendant was

11   counseled to diet, lose weight, exercise and take his medications. ECF No. 42-3 at

12   4-5 (December 2020). Defendant was specifically proscribed medication for his

13   blood pressure and high cholesterol. Defendant’s saturated oxygen level was at

14   98%. Defendant recovered from having COVID-19 and received both doses of the

15   Pfizer COVID-19 vaccination. More recent medical records show that

16   Defendant’s blood pressure is “well controlled” and Defendant denies any

17   shortness of breath. ECF No. 44-4 (dated May 2021). A review of all the medical

18   records submitted shows that Defendant’s medical conditions are stable, and his

19   chronic conditions were being managed and monitored. ECF Nos. 44-2 through

20   44-13.




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 1         Defendant’s non-acute medical conditions will exist inside or outside prison

 2   and since Defendant is now fully vaccinated, no extraordinary and compelling

 3   reason exists to release the Defendant.

 4         Defendant also contends that a change in the law constitutes extraordinary

 5   and compelling reasons to reduce his sentence. Defendant contends that a change

 6   in Washington case law eliminates his conviction for possession of

 7   methamphetamine and the subsequent bail jumping conviction, thereby reducing

 8   his criminal history points and advisory guideline range. Generally, a federal

 9   prisoner who seeks to challenge the legality of confinement must utilize a § 2255

10   motion. Marrero v. Ives, 682 F.3d 1190, 1192 (9th Cir. 2012). Defendant received

11   a below guideline sentence, even below Defendant’s newly calculated advisory

12   range, thus, he is entitled to no relief. See Shepherd v. Unknown Party,

13   ___F.4th___, 2021 WL 3085784 (9th Cir. July 22, 2021).

14         Defendant also contends that he should have received a safety-valve

15   downward departure at his original sentencing, but that is not a basis for a

16   § 3582(c) resentencing. In any event, Defendant is not entitled to the statutory

17   safety valve as he has 3-criminal history points for the crime of Manufacturing

18   Methamphetamine in 2001 for which he received a 29.75 month sentence in

19   prison. See PSIR ¶ 69. This categorically precludes safety valve eligibility. 18

20   U.S.C. § 3553(f)(1)(B).




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 1         Whether Defendant is housed in prison or released, the virus continues to

 2   spread throughout the world. Defendant has now been vaccinated. Just because

 3   Defendant fears infection in prison does not warrant immediate release into the

 4   community, where the virus continues to spread as well. In this case, there are no

 5   extraordinary and compelling reasons, alone or in combination, for a reduction in

 6   sentence.

 7      D. Factors under 18 U.S.C. § 3553(a)

 8         Defendant claims that he has demonstrated rehabilitation and poses little risk

 9   of recidivism. Rehabilitation is not alone an extraordinary and compelling

10   circumstance for release. See 28 U.S.C. § 994(t) (“Rehabilitation of the defendant

11   alone shall not be considered an extraordinary and compelling reason.”).

12   Defendant’s life long criminal history shows that he does pose a risk of recidivism,

13   he has been addicted to methamphetamine since the age of 15.

14         18 U.S.C. § 3582(c) and the Sentencing Guidelines instruct that the Court

15   should consider the sentencing factors set forth in 18 U.S.C. § 3553(a) when

16   deciding a motion for compassionate release. 18 U.S.C. § 3553(a) provides:

17        The court shall impose a sentence sufficient, but not greater than necessary, to
          comply with the purposes set forth in paragraph (2) of this subsection. The
18        court, in determining the particular sentence to be imposed, shall consider—
           (1) the nature and circumstances of the offense and the history and
19         characteristics of the defendant;
           (2) the need for the sentence imposed—
20                (A) to reflect the seriousness of the offense, to promote respect for
                  the law, and to provide just punishment for the offense;


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 1                (B) to afford adequate deterrence to criminal conduct;
                  (C) to protect the public from further crimes of the defendant; and
 2                (D) to provide the defendant with needed educational or vocational
                  training, medical care, or other correctional treatment in the most
 3                effective manner;
           (3) the kinds of sentences available;
 4         (4) the kinds of sentence and the sentencing range established for—
                  (A) the applicable category of offense committed by the applicable
 5                category of defendant as set forth in the guidelines—
                          (i) issued by the Sentencing Commission pursuant to section
 6                        994(a)(1) of title 28, United States Code, subject to any
                          amendments made to such guidelines by act of Congress
 7                        (regardless of whether such amendments have yet to be
                          incorporated by the Sentencing Commission into amendments
 8                        issued under section 994(p) of title 28); and
                          (ii) that, except as provided in section 3742(g), are in effect on
 9                        the date the defendant is sentenced; or
                  (B) in the case of a violation of probation or supervised release, the
10                applicable guidelines or policy statements issued by the Sentencing
                  Commission pursuant to section 994(a)(3) of title 28, United States
11                Code, taking into account any amendments made to such guidelines or
                  policy statements by act of Congress (regardless of whether such
12                amendments have yet to be incorporated by the Sentencing
                  Commission into amendments issued under section 994(p) of title 28);
13         (5) any pertinent policy statement—
                  (A) issued by the Sentencing Commission pursuant to section
14                994(a)(2) of title 28, United States Code, subject to any amendments
                  made to such policy statement by act of Congress (regardless of
15                whether such amendments have yet to be incorporated by the
                  Sentencing Commission into amendments issued under section 994(p)
16                of title 28); and
                  (B) that, except as provided in section 3742(g), is in effect on the
17                date the defendant is sentenced.
           (6) the need to avoid unwarranted sentence disparities among defendants
18         with similar records who have been found guilty of similar conduct; and
           (7) the need to provide restitution to any victims of the offense.
19

20   At the time of the original sentencing, the Court fully considered these factors. At




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 1   sentencing, Defendant’s total offense level was 29 and he had a criminal history

 2   category of VI. This directed an advisory guideline range of 151 to 188 months of

 3   imprisonment. Considering all the sentencing factors, the Court expressly departed

 4   from the advisory range based on Defendant’s advanced age to impose a sentence

 5   sufficient but not greater than necessary to comply with the purposes and goals of

 6   sentencing.

 7         Once again, the Court has fully considered these factors in light of the

 8   information Defendant recently provided. Of particular note is the nature and

 9   circumstances of the offense in this case. This was not a simple, one-time event,

10   Defendant was involved in repeated drug distribution over a period of time. This

11   resulted in the distribution of 243 grams of methamphetamine to the CI.

12   Defendant’s extensive prior criminal history includes convictions for

13   manufacturing methamphetamine, conspiracy to possess methamphetamine,

14   conspiracy to deliver methamphetamine, and repeated instances of possessing

15   stolen property, which resulted in a criminal history category VI. Defendant has

16   used methamphetamine nearly his entire life, since the age of 15.

17         The Court is obligated to protect the public from defendant’s serious,

18   dangerous and devastating conduct. The sentence the Court imposed was

19   “sufficient, but not greater than necessary,” to comply with the purposes of

20   § 3553(a), including to reflect the seriousness of the offense, to promote respect for




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 1   the law, to provide just punishment for the offense and to afford adequate

 2   deterrence to this criminal conduct. Even with recent developments, the sentence

 3   imposed remains sufficient but not greater than necessary to comply with the

 4   purposes of sentencing.

 5         Defendant claims his good behavior, no disciplinary reports, his completion

 6   of 36 credit hours of rehabilitative programming and his work toward his GED and

 7   English proficiency support his request for a reduced sentence. Successful

 8   rehabilitative activities are commendable, but do not alone warrant early release.

 9   28 U.S.C. § 994(t). Considering the totality of all the facts, compassionate release

10   is unwarranted.

11                                    CONCLUSION

12         The Court declines to exercise its discretion to reduce Defendant’s sentence

13   because extraordinary and compelling reasons do not warrant such a reduction.

14   ACCORDINGLY, IT IS HEREBY ORDERED:

15         Defendant’s Motion for Compassionate Release, ECF No. 42, is DENIED.

16         The District Court Executive is directed to enter this Order and furnish

17   copies to the parties.

18         DATED August 13, 2021.

19

20                                  THOMAS O. RICE
                                 United States District Judge


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